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COUNSEL FOR THE DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
        DEBTORS1                                  §                Jointly Administered


                          DEBTORS’ WITNESS AND EXHIBIT LIST
                        FOR HEARING TO BE HELD ON APRIL 21, 2021

        The National Rifle Association of American and Sea Girt LLC (the “Debtors”) may call

the following witnesses and introduce the following exhibits in connection with the following

pleadings scheduled to be heard on April 21, 2021 at 1:30 p.m. and 2:00 p.m. in the above-

captioned proceeding (the “Hearing”):

                 a.       Motion of Christopher W. Cox (I) To Modify the Automatic Stay to Allow
                          a Trial-Ready Arbitration to Proceed Against the National Rifle
                          Association of America, and (II) For Related Relief [Docket Nos. 63 and
                          75]



1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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               b.     Debtors’ Motion for Waiver of the Requirements of Section 345(b)
                      [Docket No. 78];

               c.     Motion for the Appointment of a Member Committee [Docket No. 416];

               d.     Debtors’ Application for Entry of an Order Pursuant to Section 327(e) of
                      the Bankruptcy Code Authorizing the Retention and Employment of
                      Briglia Hundley, P.C. as Special Litigation Counsel for the Debtors and
                      Debtors in Possession Effective as of January 15, 2021 [Docket No. 447];
                      and

               e.     Motion for Entry of Amended Order Authorizing the Debtors to Honor
                      Prepetition Obligations Related to Customer, Donor, and Member
                      Programs [Docket No. 550].

                                       I. WITNESSES

       1.      The Debtor reserves the right to call the following individual as witnesses at the
Hearing:

               a.     John Frazer

               b.     David Warren

               c.     Robert H. Cox

               d.     Charles Cotton

               e.     Sonya Rowling

               f.     Any witness(es) identified or called by any other parties; and

               g.     Rebuttal witnesses, as necessary.

                                        II. EXHIBITS

       2.      The Debtors reserve the right to introduce the following document as an exhibit at
the Hearing:

               EXHIBIT NO.                                DESCRIPTION
                     1         Declaration of Svetlana M. Eisenberg in Support of Debtors’
                               Opposition to Motion of Christopher W. Cox to Modify the
                               Automatic Stay [Docket No. 121]




DEBTORS’ WITNESS AND EXHIBIT LIST FOR HEARING ON APRIL 21, 2021                           PAGE 2
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                     2        Exhibit 1 (Filed Under Seal) to Declaration of Svetlana M.
                              Eisenberg in Support of Debtors’ Opposition to Motion of
                              Christopher W. Cox to Modify the Automatic Stay [Docket No.
                              121]
                     3        Exhibit 2 (Filed Under Seal) to Declaration of Svetlana M.
                              Eisenberg in Support of Debtors’ Opposition to Motion of
                              Christopher W. Cox to Modify the Automatic Stay [Docket No.
                              121]
                     4        Exhibit 3 (Filed Under Seal) to Declaration of Svetlana M.
                              Eisenberg in Support of Debtors’ Opposition to Motion of
                              Christopher W. Cox to Modify the Automatic Stay [Docket No.
                              121]
                     5        Exhibit 4 (Filed Under Seal) to Declaration of Svetlana M.
                              Eisenberg in Support of Debtors’ Opposition to Motion of
                              Christopher W. Cox to Modify the Automatic Stay [Docket No.
                              121]
                     6        Exhibit 5 (Filed Under Seal) to Declaration of Svetlana M.
                              Eisenberg in Support of Debtors’ Opposition to Motion of
                              Christopher W. Cox to Modify the Automatic Stay [Docket No.
                              121]
                     7        Declaration of Robert H. Cox in Support of Debtors’ Application
                              for Entry of an Order Pursuant to Section 327(e) of the
                              Bankruptcy Code Authorizing the Retention and Employment of
                              Briglia Hundley, P.C. as Special Litigation Counsel for the
                              Debtors and Debtors in Possession Effective as of January 15,
                              2021 [Docket No. 447-2]
                     8        Declaration of Charles Cotton in Support of Debtors’ Application
                              for Entry of an Order Pursuant to Section 327(e) of the
                              Bankruptcy Code Authorizing the Retention and Employment of
                              Briglia Hundley, P.C. as Special Litigation Counsel for the
                              Debtors and Debtors in Possession Effective as of January 15,
                              2021 [Docket No. 447-3]
                     9        Declaration of John C. Frazer in Support of Debtors’ Application
                              for Entry of an Order Pursuant to Section 327(e) of the
                              Bankruptcy Code Authorizing the Retention and Employment of
                              Briglia Hundley, P.C. as Special Litigation Counsel for the
                              Debtors and Debtors in Possession Effective as of January 15,
                              2021 [Docket No. 447-4]




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                    10        Order Authorizing the Debtors to Honor Prepetition Obligations
                              Related to Customer, Donor, and Member Proposals [Docket No.
                              245]
                              Any exhibit(s) offered or introduce by any other parties
                              Rebuttal exhibits, as necessary

       3.     The Debtors reserve the right to supplement this Witness and Exhibit List.

Dated: April 7, 2021                        Respectfully submitted,

                                            /s/Patrick J. Neligan, Jr.
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                                            and

                                            Gregory E. Garman
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                                            Nevada Bar No. 3549 (admitted pro hac vice)
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                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on the 7th day of April 2021 a true and correct copy

of the foregoing was served electronically via this Court’s CM/ECF notification system.


                                                 /s/ John D. Gaither
                                                John D. Gaither




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